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                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                       IN THE UNITED STATES DISTRICT COURT                               August 27, 2018
                                                                                        David J. Bradley, Clerk
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

JASON JERMAINE TOLLIVER              §
                                     §
                Plaintiff,           §
                                     §
VS.                                  §               CIVIL ACTION NO. H-18-1192
                                     §
PRAIRIE VIEW A&M UNIVERSITY, et al., §
                                     §
                                     §
                Defendants.          §

                                             ORDER

       After the defendant, the Waller County Sheriff’s Office, filed a motion to dismiss, (Docket

Entry No. 5), Jermaine Tolliver voluntarily withdrew his claims against the Sheriff’s Office and

amended his complaint to add three unknown officers in the Sheriff’s Office—Officer N. Aaron,

Officer Mace, and Officer Bryan—as defendants. (Docket Entries No. 10 at 2). The Sheriff’s Office

again moved to dismiss and asked the court to confirm that it is not a party. (Docket Entry No. 18).

Tolliver responded, confirming that neither the Sheriff’s Office nor the Sheriff is a party. (Docket

Entry No. 20 at 13–15). The Sheriff’s Office’s motion to dismiss the First Amended Complaint is

moot. The defendants’ motion to dismiss the remaining claims and parties will be separately

addressed.

               SIGNED on August 27, 2018, at Houston, Texas.


                                                   ______________________________________
                                                            Lee H. Rosenthal
                                                      Chief United States District Judge
